 Case 1:14-cv-00236-LPS Document 28 Filed 09/02/15 Page 1 of 2 PageID #: 372



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

EXECWARE, LLC,

               Plaintiff,

       v.                                           C.A. No. 14-236-LPS-CJB

DOLLAR GENERAL CORP.,

               Defendant.


                                JOINT MOTION TO DISMISS

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the above captioned

parties move the Court for an order dismissing all claims between Execware, LLC (“Execware”)

and Dollar General Corporation (“Dollar General”) without prejudice.

       Execware and Dollar General have agreed that each shall bear their own costs and

attorneys’ fees and that the dismissal of Dollar General will not count as a previous dismissal

under Fed. R. Civ. P. 41(a)(1)(B) or Fed. R. Civ. P. 41(d).

       A proposed order is attached.
 Case 1:14-cv-00236-LPS Document 28 Filed 09/02/15 Page 2 of 2 PageID #: 373



Dated: September 2, 2015

BAYARD, P.A.                           FISH & RICHARDSON P.C.

/s/ Sara E. Bussiere                   /s/ Jeremy D. Anderson
Richard D. Kirk (rk0922)               Jeremy D. Anderson (#4515)
Stephen B. Brauerman (sb4952)          Susan M. Coletti (#4690)
Vanessa R. Tiradentes (vt5398)         222 Delaware Ave., 17th Floor
Sara E. Bussiere (sb5725)              Wilmington, DE 19801
222 Delaware Avenue, Suite 900         (302) 652-5070
Wilmington, DE 19801                   janderson@fr.com
(302) 655-5000                         coletti@fr.com
rkirk@bayardlaw.com
sbrauerman@bayardlaw.com
vtiradentes@bayardlaw.com
sbussiere@bayardlaw.com
                                       OF COUNSEL:
OF COUNSEL:
                                       Neil J. McNabnay
Zachariah S. Harrington                David Conrad
Matthew J. Antonelli                   Matthew Colvin
Larry D. Thompson, Jr.                 Theresa M. Dawson
Peter J. Corcoran, III                 FISH & RICHARDSON P.C.
ANTONELLI, HARRINGTON &                1717 Main Street, Suite 5000
THOMPSON LLP                           Dallas, Texas 75201
4200 Montrose Blvd., Ste. 430          (214) 747-5070
Houston, TX 77006                      mcnabnay@fr.com
(713) 581-3000                         conrad@fr.com
zac@ahtlawfirm.com                     colvin@fr.com
matt@ahtlawfirm.com                    tdawson@fr.com
larry@ahtlawfirm.com
                                       Counsel for Defendant
Counsel for Plaintiff                  Dollar General Corporation
Execware, LLC
